                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      AT CHATTANOOGA

  STEVEN P. STEWART,                                      :
                                                          :
             Plaintiff,                                   :
                                                          :       No.: 1:09-CV-260
  v.                                                      :
                                                          :       COLLIER/CARTER
  THYSSENKRUPP WAUPACA, INC.                              :
  THYSSENKRUPP WAUPACA GROUP                              :
  BENEFITS PLAN, and                                      :
  SUN LIFE FINANCIAL ASSURANCE                            :
  COMPANY OF CANADA,                                      :
                                                          :
             Defendants.                                  :


                                JOINT STIPULATION OF DISMISSAL


             Plaintiff and Defendants (collectively the “Parties”) announce to the Court that all claims

  pending in this action as to all parties have been compromised and settled without admission of

  liability pursuant to a confidential Settlement Agreement and Release executed among the

  Parties.

             Accordingly, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

  Parties stipulate that Plaintiff dismisses the above-captioned case with full prejudice and each

  party shall bear its own costs, expenses, attorney fees, or other fees.

             Respectfully submitted this 8th day of January, 2010.

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                                    -AND-

                                    MILLER & MARTIN PLLC

                                    s/James Williams
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                                    James T. Williams, B.P.R. # 16341
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                                    Plan




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2010 a copy of the foregoing pleading was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be served by
  regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

                                                s/James Williams
                                                Shelby R. Grubbs, B.P.R. # 001581
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